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            EXHIBIT 9
                    Case 1:17-cv-02989-AT Document 1793-9 Filed 01/22/24 Page 2 of 2
   Message
   From:           Barnes, Michael [/O=SOS/OU=EXCHANGE ADMINISTRATIVE GROUP
                   (FYDI BOHF23SPDLT)/CN=RECIPI ENTS/CN=D4F658ED134C4A6D91A27F28A0572934-BARN ES, MICHAEL]
  Sent:            2/26/2020 1:24:02 PM
  To:              Sheldon, Samantha [/o=SOS/ou=Exchange Administrative Group
                   (FYDI BOHF23SPDLT)/cn=Recipients/cn=01bc012b9aac4162970fbc3d34473542-Sheldon, Samantha]
  Subject:         FW: Jefferson County Board of Elections



   Do you think you can update Easy Vote to document the seals now in place on these units?


   From: Susan Gray <sgray@jeffersoncountyga.gov>
  Sent: Wednesday, February 26, 2020 8:22 AM
  To: Barnes, Michael <mbarnes@sos.ga.gov>
  Subject: Jefferson County Board of Elections


  [
  EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the sender and know
    econtent is safe.
   Michael,
  These are the BM        serial numbers that Itook the State of Georgia Seal from by mistake.
   Ihave the seals but Iam unsure of the serial number which SOS seal came off.


   BMD            New Seal


  #270870 -0783766
  #300492 -0582158
  #300494 -0373662
  #171100     -   0783758
  #300493     -   0783743
  #171101     -   0119665
  #300495     -   0582162


  Seal numbers that were removed:
   307303;307305;307330;307367;307370;307713;356953


  Sorry for my error,
  Thank you for all your help and all you do for us!
  Susan Gray
   Election Superintendent
  Jefferson County, Georgia
  478-625-8357




Attorneys' Eyes Only                                                                         STATE-DEFENDANTS-001 58505
                                              Curling Plaintiffs' Exhibit 103, page 1 of 1
